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                  EXHIBIT A
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       Understanding the
       2024 Equality Index™


       Why does the National Urban League publish                               Is it possible to see how well Black Americans
       an Equality Index?                                                       are doing in each of the categories?
       Economic empowerment is the central theme of the National Urban          Yes. We show this in the tables included with the Equality Index.
       League’s mission. The Equality Index gives us a way to document          We estimate an index for each category that can be interpreted in
       progress toward this mission for Black Americans relative to whites.     the same way as the total Equality Index. So, an index of 66% for
                                                                                the economics category for 2024 means that Black Americans are
       What is the Equality Index trying to do?                                 missing over a third of the economics mini-pie. Figure 1 summarizes
                                                                                the total 2024 Equality Index and the sub-index in each category.
       The Equality Index uses pie charts to show how well Black
       Americans are doing in comparison to whites when it comes to             Is it possible to see how well Black Americans
       their economic status, their health, their education, social justice,
                                                                                are doing over time?
       and civic engagement. The Equality Index measures the share
       of that pie which Black Americans get. Whites are used as the            Yes. The National Urban League has published the Equality Index of
       benchmark because the history of race in America has created             Black America and all the variables used to calculate it since 2005.
       advantages for whites that continue to persist in many of the
       outcomes being measured.                                                 It doesn’t look like there’s been much improvement
                                                                                in the Equality Index. What’s the point?
       The 2024 Equality Index of Black America is 75.7%.
       What does that mean?                                                     The Equality Index is made up of a lot of different parts.
                                                                                Improvements in one area are sometimes offset by losses in another
       That means that rather than having a whole pie (100%), which             area, leaving the overall index unchanged. Change often happens
       would mean full equality with whites in 2024, African Americans          slowly. The Equality Index offers solid evidence of just how slowly
       are missing about 24% of the pie.                                        it happens, making the index an indispensable tool for shaping the
                                                                                policies needed in the ongoing fight against inequality.
       How is the Equality Index calculated?
                                                                                Not all Black Americans are doing poorly and not
       The categories that make up the Equality Index are: economics,
       health, education, social justice and civic engagement. In each          all whites are doing well. Why doesn’t the Equality
       category, we use nationally representative statistics to calculate       Index capture class differences?
       a sub-index that captures how well Black Americans are doing
       relative to whites. Each category is weighted based on the               The Equality Index was created to capture racial inequality. Most
       importance that we give to each. The weighted average of all five        of the data points are reported as averages for Black Americans
       categories is then calculated to get the total Equality Index.           and whites. An average is the easiest way to summarize a large
                                                                                amount of information, but can mask class differences within each
                                                                                group. While the Equality Index does not detail class differences,
                                                                                it does highlight regional differences in racial inequality through
                                                                                our rankings of metro area unemployment and income inequality
                                                                                (not included this year but available for prior years).




4 2024 STATE OF BLACK AMERICA®   The Civil Rights Act of 1964: 60 Years Later
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                                                                                                                                   N AT I O N A L U R BA N L E AG U E




measuring key educational factors, from enrollment to student-             TITLE VII: Discrimination in Employment
achievement risk factors. The Education sub-index is 8.5 percentage
                                                                           Title VII of the Civil Rights Act of 1964 opened employment
points higher in 2024 (74.8 percent) than in 2000 (66.3 percent).
                                                                           opportunities for Black Americans, particularly those residing in
It has been seventy years since the U.S. Supreme Court ruled in            the de jure Jim Crow South. It outlawed employment discrimination
Brown v. Board of Education that “separate but equal” education            based on race, color, religion, sex, or national origin by businesses
was unconstitutional. Nevertheless, today, Black students are still        affecting commerce with at least twenty-five employees.
more likely to attend schools with less qualified teachers. In 2023,
                                                                           However, despite some progress, economic inequality between
Black students were more likely to have uncertified teachers (4.9
                                                                           Black and White households persists decades later. For example,
percent) compared to white students (2.1 percent). Additionally,
                                                                           after adjusting for inflation, Black men earned $91 less per week,
Black students were more likely to have inexperienced teachers (less
                                                                           and Black women made $72 less per week in 2024 compared to
than three years of experience) compared with white students (15.2
                                                                           2000. In 2000, Black men earned 75 cents for every dollar earned
percent vs. 8.9 percent).
                                                                           by a White man; by 2024, this figure had decreased to 71 cents.
But there is good news. The percentage of Blacks who dropped out of        Similarly, Black women made 84 cents for every dollar earned by
high school dropped from 13.1 percent in 2000 to 3.9 percent in 2024.      a White woman in 2024, slightly less than the 86 cents per dollar
                                                                           earned in 2000.
The index for this metric was 113 percent in 2024 compared to
53 percent. Moreover, decreasing the percentage of Black high              The median household income for Black Americans increased from
school dropouts positively affects college enrollment. In 2024,            $28,700 ($51,422.96 in 2023 dollars) in 2000 to $51,374 in 2024
the college enrollment gap between Black and White men is only             ($54,812 in 2023 dollars), indicating a positive trend. However, the
2.4 percentage points, and Black women have a higher college               median income index, which measures the income gap between
enrollment percentage than Black or White men. However, a higher           Black and white households, only increased from 63 percent in 2000
enrollment rate for Black women should not be interpreted as Black         to 64 percent in 2024. Hence, Black households had 64 cents for
women are the most educated group. Enrollment in college does              every White household dollar.
not mean college completion.
                                                                           Increased earnings and tax credits aimed at helping families
                                                                           reduced the number of Black families in poverty in 2024 relative to
TITLE V: Reauthorization of the U.S. Commission on Civil Rights
                                                                           2000. All of the Poverty sub-indices were below 40 percent in 2000.
The U.S. Commission on Civil Rights is an independent, bipartisan          In 2024, these sub-indices were all above 40 percent. The indices
federal agency created to inform national civil rights policy              for the percentage of Blacks under 18 years of age and 18–64 years
development, enforce federal civil rights laws, and investigate            of age living in poverty both increased by 31 and 29 percentage
allegations of voter suppression. In November 2023, the commission         points, respectively.
began investigating the federal government’s role in collecting
                                                                           Furthermore, the homeownership index decreased from 64 percent
data to identify racial and ethnic disparities in violent crime
                                                                           in 2000 to 61 percent in 2024, while the wealth index remained at
victimization. Such investigations directly affect the Social Justice
                                                                           16 percent. The persistent economic inequality can be traced to
sub-index, which has two components— equality before the law
                                                                           the stubborn unemployment gap. In 2000, the unemployment rate
(.70) and victimization and mental anguish (.30). Since 2000, the
                                                                           for Black Americans was 7.6 percent, which was more than twice
Social Justice sub-index has doubled, from 26.2 percent in 2000 to
                                                                           the unemployment rate of white Americans (3.5 percent.) In 2022,
55.7 percent in 2024—noteworthy progress.
                                                                           during the COVID-19 pandemic, Black unemployment was 8.3 percent
The incarceration rate (prisoners per 100,000) for Blacks was 3,662        compared to 4.4 percent for White Americans. Six months after
in 2000 (the index was 13 percent). In 2024, the incarceration rate        the pandemic “ended” (November 2023), White unemployment
was 558, 6.5 times smaller, a 29 percent index. An increase in this        decreased to 3.3 percent, while Black unemployment remained
index means fewer Black prisoners are incarcerated for every White         higher at 5.8 percent. January 2024, the most recent unemployment
prisoner. The incarceration rate is a good proxy for equality under        data, reports that 3.4 percent of Whites are unemployed compared
the law. The decrease in the number of victims aged 12 or older of         to 5.3 percent of Blacks.
violent crimes was significant enough for Blacks to go from an index
                                                                           The Economic index was 66 percent in 2024, up from 59.8 percent
of 50 percent in 2000 to 110 percent in 2024. Black youth are now
                                                                           in 2000. This 5.8 percentage point increase resulted from better
less likely to be victims of violent crimes than Whites.
                                                                           wealth measures, a lower unemployment and household income
                                                                           gap, and reduced poverty rates.
TITLE VI: Discrimination by Recipients of Federal Financial Assistance
Under Title VI, Blacks gained equal access to federally funded hospitals   Conclusion
for health care. Section 1557 requires any healthcare provider receiving
                                                                           The Civil Rights Act of 1964 played a pivotal role in eliminating
funding to treat all patients. Although less than 1, the 2024 Health
                                                                           legislation and policies that obstructed the full participation of
sub-index is 88.6 percent, a slight increase from 87.9 percent in 2000.
                                                                           Black Americans in the country’s economic and social activities. It
A historical view of the health sub-index shows improvements in Age-       led to better employment opportunities, more equitable access
Adjusted Death Rates (AADR). The 2000 AADR index was 50 percent—           to education, and fairer treatment in the healthcare and judicial
meaning that even after adjusting mortality rates for age, Blacks were     systems. The racial-equity progress chronicled in the State of Black
twice as likely to die as Whites. However, the 2024 AADR index for         of America Equality Index that the Civil Rights Act of 1964 has been
Blacks was 120 percent, which means that Blacks were less likely to die    chipping away at structural racism, but gaps still remain. How long
than Whites. However, despite this progress, the life expectancy of        will Black Americans wait until the Equality Index is 1?
Blacks is still lower than that of Whites by almost 5.5 years.


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                                                                                                                                  N AT I O N A L U R BA N L E AG U E




A Land Divided Over
Liberty and Justice for All
Around the world, America is the symbol of freedom. It’s a nation where every one of its citizens has the opportunity
to create a life of their choosing and has an equal say in how it is governed and its future by simply casting a ballot.
America is a country where you and I can choose where we want           We forget that those freedoms were not given to us, and the fight
to live, where we send our children to school, where we visit for       is far from over.
vacation, what restaurants we’d like to visit, and where we can sit.
                                                                        Political forces across this country are working tirelessly to gut the
But that hasn’t always been the case.                                   Civil Rights Act of 1964 through the courts and the ballot box.

America is heralded as a beacon of freedom, democracy, and              Before we walk through what is at stake today, we want to remind
equality, but its history of 400 years of slavery and the formation     you of what life in America looked like before the landmark
of a racial caste that followed the Civil War is too often overlooked   legislation passed just 60 years ago.
in its legacy.

Far too many Americans today see the roots of injustice and
inequality as relics of the past. With the freedoms that we enjoy
today, it is easy to leave Slavery, Jim Crow, and the fight for civil
rights in textbooks, museums, and Hollywood adaptations of
American history.




           We forget that those freedoms were not given to us,
           and the fight is far from over.




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                                                                historically overpoliced and over-                ٨ FHA revised its policies for student




                     50%
                                                                criminalized communities.                           loan debt in mortgage applications
                                                                                                                    and allowed a borrower’s positive
            NEARLY


                                                                The Promise: “Strengthen America’s
                                                                                                                    rental history to be included in
                                                                commitment to justice by ending
                                                                                                                    evaluations of their creditworthiness
                                                                incarceration for drug use alone, reducing
                                                                                                                    for an FHA-insured mortgage.
                     of Biden’s current                         the number of people incarcerated,
                     appointees identify                        reinvesting those savings in communities         The President’s initial Build Back Better
                     as racially diverse.                       affected by mass incarceration, and              Plan offered a significant set of investments
                                                                addressing systemic misconduct in police         in housing, authored by Congresswoman
                                                                departments and prosecutors’ offices.”           Maxine Waters, with considerable input
                                                                The administration’s wins include:               from the National Urban League. The
                                                                                                                 housing provisions were removed from the
                                                                  ٨ The confirmation of Supreme Court
                                                                                                                 bill in the Senate due to the opposition of
                                                                    Justice Ketanji Brown-Jackson.
       Expanding Healthcare Access                                                                               Senator Joe Machin (D-WV).
                                                                  ٨ The Justice Department awarded
       Under the Biden Administration, the
                                                                    $334M, including $74M, to improve            Environmental Justice
       Affordable Care Act has flourished. In the
                                                                    school security and $43M for community
       most recent enrollment period, more than                                                                  Black communities are disproportionately
                                                                    policing and de-escalation training.
       20 million Americans have signed up for                                                                   exposed to high amounts of air and
       plans, a record-breaking eight million more                ٨ The Department of Justice has                water pollution in this country. We are
       than before.                                                 requested $15 million in the                 also the least prepared and supported
                                                                    President’s 2024 budget to help              in times of natural disasters. The Biden
       The Promise: “End health disparities
                                                                    young people expunge, seal, or               administration pledged to address these
       by making far-reaching investments,
                                                                    vacate their juvenile records.               inequities through legislation that protects
       expanding access to affordable health
       care, improving the quality of care African                                                               our communities and provides economic
                                                                Black Homeownership and                          opportunities for a green future.
       Americans receive, and making health
                                                                Affordable Housing
       equity a reality for African Americans.”                                                                  The Promise: “Address environmental
                                                                In the 60 years since the Fair Housing Act       justice by making historic investments,
       In addition to expanding access to health
                                                                made it illegal for financial institutions and   enforcing ecological justice legislation, and
       coverage by lowering the cost of insurance
                                                                landlords to discriminate against potential      ensuring that African Americans are dealt
       plans, the administration has:
                                                                buyers and renters based on race, the gap        in on the country’s clean energy future.“
         ٨ Empowered Medicare to negotiate                      between white and Black homeownership
           specific drug prices for the first time.                                                              The Inflation Reduction Act is the nation’s
                                                                has grown. The 27% gap in 1960, white
                                                                                                                 most significant investment in climate
         ٨ Capped the cost of insulin at $35                    (65%) and Black (38%) increased to 29%,
                                                                                                                 justice and our environment in history.
           per month for millions of Americans                  with 73% of white households owning a
                                                                                                                 Billions of dollars have been allocated
           who have diabetes, a disease that                    home compared with Black homeownership
                                                                                                                 to invest in protecting and supporting
           disproportionately affects                           at 44% in 2021.
                                                                                                                 communities affected by natural disasters
           Black Americans.                                     The Biden administration recognized              and air, land, and water pollution. The
         ٨ Allocated millions of new dollars for                this alarming trend and began work to            landmark legislation also created a green
           rural healthcare, including hospitals,               improve housing across the board for Black       economy with opportunities for minority-
           and dollars for new staff.                           Americans.                                       owned businesses to help build the future
                                                                The Promise: “Expand African-American            of this country and our planet.
         ٨ In the face of the overturning of Roe v.
           Wade, the administration established                 Homeownership and Access to Affordable,
                                                                Safe Housing.” Under President Biden and         The Enforcement of Civil Rights Laws
           the Task Force on Reproductive Health
           Care Access and increased protections                Secretary Marcia Fudge:                          Under the Biden Administration, the
           for oral contraceptives.                               ٨ HUD led a first-of-its-kind interagency      enforcement of civil rights laws in voting, hate
                                                                    task force committed to rooting              crimes, policing, technology, and housing has
       Criminal Justice Reform                                      out racial and ethnic bias in home           been dramatically improved and increased.
                                                                    valuations, the Property Appraisal and       The administration has also stepped up
       The murder of George Floyd spurred a tidal
                                                                    Valuation Equity Task Force (PAVE).          the prosecution of hate crimes in its first
       wave of calls for racial justice in America.
                                                                                                                 three years by nominating highly qualified
       In an election year where extremists were                  ٨ More than 1.1 million struggling             leadership across the government, including:
       actively fighting against measures to                        homeowners kept their homes through
       reform police practices and protect Black                    mortgage modifications and other              ٨ Merrick Garland, Attorney General
       communities, the administration outlined                     permanent monthly payment reductions.         ٨ Vanita Gupta, Associate
       a plan to improve community safety and                                                                       Attorney General
                                                                  ٨ The American Rescue Plan $25 billion
       introduce criminal justice practices that
                                                                    in rental assistance the President’s first    ٨ Kristin Clarke, Assistant Attorney
       incorporated fairness and equity for
                                                                    year in office.                                 General for Civil Rights




22 2024 STATE OF BLACK AMERICA®      The Civil Rights Act of 1964: 60 Years Later
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